   Case 1:18-cv-01313-JTN-ESC ECF No. 1 filed 11/21/18 PageID.1 Page 1 of 6



                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

CHERYL FRITZE,

       Plaintiff,                                    Hon. ________________________
                                                     Civil Action No. _______________
-vs-

NEXSTAR BROADCASTING, INC. and                       Removed from:
NEXSTAR MEDIA GROUP, INC. (d/b/a                     Ingham County Circuit Court
WLNS).                                               Case No. 18-531-CD
                                                     Visiting Judge
       Defendants.


Michael R. Behan (P45121)                        Maurice G. Jenkins (P33083)
SCHRAM, BEHAN & BEHAN                            Kristyn R. Mattern (P77548)
Attorneys for Plaintiff                          JACKSON LEWIS P.C.
4127 Okemos Rd., Ste 3                           Attorneys for Defendants
Okemos, MI 48864                                 2000 Town Center, Suite 1650
(517)347-3500                                    Southfield, MI 48075
                                                 248-936-1900
                                                 jenkinsm@jacksonlewis.com
                                                 kristyn.mattern@jacksonlewis.com


                                  NOTICE OF REMOVAL


   TO:

   Clerk of the Court                          Michael R. Behan (P45121)
   313 W. Kalamazoo St.                        SCHRAM, BEHAN & BEHAN
   Lansing, MI 48933                           Attorneys for Plaintiff
                                               4127 Okemos Rd., Ste 3
                                               Okemos, MI 48864
                                               (517)347-3500


         Pursuant to 28 U.S.C. §§ 1332, 1391, 1441, and 1446, Defendants Nexstar Broadcasting,

Inc. and Nexstar Media Group, Inc. (hereinafter referred to as “Defendants”), by and through

their counsel, Jackson Lewis P.C., remove this action from the 30th Judicial Circuit Court,
   Case 1:18-cv-01313-JTN-ESC ECF No. 1 filed 11/21/18 PageID.2 Page 2 of 6



County of Ingham, State of Michigan, where it is now pending, to the United States District

Court for the Western District of Michigan. In support of this Notice of Removal, Defendants

state as follows:

                                           OVERVIEW

       1.      This case is removable to the United States District Court because: (a) the amount

in controversy, exclusive of interest and costs exceeds $75,000; and (b) Plaintiff and Defendants

are citizens of different states. Specifically, upon information and belief, Plaintiff is a citizen of

Michigan. Defendant Nexstar Broadcasting, Inc. is a citizen of Delaware and Defendant Nexstar

Media Group, Inc. is a citizen of Delaware. Accordingly, removal is appropriate, based on

diversity jurisdiction, under 28 U.S.C. § 1332.

       2.      This Notice of Removal is timely filed under 28 U.S.C. § 1446.

                     SERVICE OF THE COMPLAINT AND SUMMONS

      3.       On or about August 9, 2018, Plaintiff filed her Complaint against Defendants,

Civil Action No. 18-531-CD, in the Ingham County Circuit Court, State of Michigan alleging

one count of “wrongful discharge against public policy and in violation of the Michigan

Whistleblower Protection Statute”. (See Complaint, attached as Ex. 1).

      4.       On or about August 9, 2018, the Ingham County Circuit Court issued a Summons.

(Ex. 1).

       5.      On information and belief, Defendant Nexstar Broadcasting, Inc. received a copy

of the summons and complaint on November 8, 2018 and, without waiving any objection to any

defect with respect to Plaintiff’s service of process, Defendant Nexstar Media Group, Inc.

received a copy of same on November 2, 2018.




                                                  2
   Case 1:18-cv-01313-JTN-ESC ECF No. 1 filed 11/21/18 PageID.3 Page 3 of 6



       6.      The Summons & Complaint attached as Exhibit 1 constitute all process, pleadings

and orders received by Defendants to date in the matter pending in state court. (See id.)

                       STATEMENT OF GROUNDS FOR REMOVAL

       7.      28 U.S.C. § 1441(a) provides that: “any civil action brought in a State court of

which the district courts of the United States have original jurisdiction, may be removed by the

defendant or the defendants, to the district court of the United States for the district and division

embracing the place where such action is pending.”

       8.      28 U.S.C. § 1332(a) grants original jurisdiction in the United States District

Courts for “all civil actions where the matter in controversy exceeds the sum of $75,000,

exclusive of interest and costs, and is between. . .(1) citizens of different States.”

       9.      This Court has diversity jurisdiction in this matter pursuant to 28 U.S.C. § 1332

because: (a) the amount in controversy, exclusive of interest and costs, exceeds $75,000; and (b)

Plaintiff and Defendants are citizens of different states.

                                 AMOUNT IN CONTROVERSY

       10.     Defendants believe in good faith that the amount in controversy exceeds

$75,000.00 in this action because, as stated in her Complaint, Plaintiff seeks damages for

wrongful termination “in excess of Twenty Five Thousand Dollars ($25,000)” and to “be

compensated monetarily…to reflect the harm the defendants wrongful action and allegations

have done to both the plaintiff’s professional and personal life.” (Ex. 1, Complaint.)

       11.     Back pay is a monetary remedy available to a successful plaintiff under

Michigan’s WPA. MCL 15.364. Plaintiff earned $43,617.60 per year during her employment at

Nexstar Broadcasting, Inc. (Ex. 3, Declaration of Timothy C. Busch.) Nexstar Media Group,

Inc. denies that it employed Plaintiff. (Ex. 4, Declaration of Terri Lynn Bush.)



                                                   3
   Case 1:18-cv-01313-JTN-ESC ECF No. 1 filed 11/21/18 PageID.4 Page 4 of 6



       12.     Based on the amount Plaintiff earned pre-termination, Defendants estimate that

Plaintiff is attempting to seek approximately $65,426 in compensatory damages (representing

approximately one and a half years of Plaintiff’s salary from Nexstar Broadcasting, Inc.,

calculated based on her May 2018 termination through the estimated trial date in this matter), as

well as additional damages and attorneys’ fees (as permitted under the WPA).

       13.     Therefore, the amount in controversy based on the claims asserted and specific

allegations of the Complaint, is in excess of $75,000.00. See Stephens v. Mitsubishi Electrical

Automotive America, Inc., No. 01-71443; 2002 U.S. Dist. LEXIS 6451, at *4 (E.D. Mich., March

29, 2002)(finding “little doubt” that the $75,000 jurisdictional threshold was satisfied, without

even taking into consideration a potential attorney fee award, based upon statements that the

plaintiff’s potential damages included back pay of $39,000; front pay for an indefinite number of

years; and emotional distress damages)(attached hereto as Ex. 2).

                                DIVERSITY OF CITIZENSHIP

       14.     Upon information and belief, at the time this action was commenced and to date,

Plaintiff is an individual who resides in Ingham County, in the State of Michigan. (Ex. 1,

Complaint.)

       15.     “[A] corporation shall be deemed to be a citizen of every State and foreign state

by which it has been incorporated and of the State or foreign state where it has its principal place

of business.” 28 U.S.C. § 1332(c)(1). “[T]he phrase ‘principal place of business’ refers to the

place where the corporation's high level officers direct, control, and coordinate the corporation's

activities. . . . We believe that the ‘nerve center’ will typically be found at a corporation's

headquarters.” Hertz Corp. v. Friend, 559 U.S. 77, 130 S. Ct. 1181, 1185-86 (2010)”). Nexstar

Broadcasting, Inc., who was Plaintiff’s sole employer, is a Delaware Corporation with its



                                                 4
   Case 1:18-cv-01313-JTN-ESC ECF No. 1 filed 11/21/18 PageID.5 Page 5 of 6



principal place of business in Irving, Texas. (see Ex. 1, Complaint ¶ 2; Ex. 3, Declaration, ¶¶4-5.)

Nexstar Media Group, Inc., who is a named Defendant but did not employ Plaintiff, is a Delaware

Corporation with its principal place of business in Irving, Texas. (See Ex. 1, Complaint ¶ 2; Ex. 4,

Declaration, ¶¶4-5.) Thus, neither Defendant is a citizen of Michigan.

       16.      Accordingly, complete diversity exists between Plaintiff and Defendants.

                                              VENUE

       17.      Venue lies in the United States District Court for the Western District of

Michigan, pursuant to 28 U.S.C. § 1441 because the state action was filed in this district. (See

Ex. 1, Complaint.)

                                           REMOVAL

       18.      The prerequisites for removal under 28 U.S.C. § 1441 have been met.

       19.      This action is, thus, properly removable under 28 U.S.C. § 1441(a) because the

United States District Court has diversity jurisdiction pursuant to 28 U.S.C. § 1332(a).

       20.      Pursuant to 28 U.S.C. § 1446(b)(3), Defendants file this Notice of Removal

within 30 days after they received the Summons and Complaint.

       21.      Defendants have not filed answer(s) or other responsive pleading(s) in the state

court action.

       22.      Defendants have paid or will pay the filing fees prescribed by this Court’s rules.

       23.      This Notice of Removal is being served upon Plaintiff by U.S. mail and a copy of

the Notice of Removal is being filed with the Clerk of the Thirtieth Circuit Court pursuant to 28

U.S.C. § 1446(d).




                                                 5
    Case 1:18-cv-01313-JTN-ESC ECF No. 1 filed 11/21/18 PageID.6 Page 6 of 6



                                          NO WAIVER

         24.      Defendants submit this Notice of Removal without waiving any defenses to the

claim asserted by Plaintiff or conceding that Plaintiff has asserted a claim upon which relief can

be granted.

         WHEREFORE, Defendants respectfully request that the U.S. District Court for the

Western District of Michigan accept jurisdiction of this action, and henceforth that this action be

placed upon the docket of this Court for further proceedings as if this case had been originally

instituted in this Court.


                                        Respectfully submitted,
                                        JACKSON LEWIS P.C.

                                        BY: /s/ Kristyn R. Mattern
                                            Maurice G. Jenkins (P33083)
                                            Kristyn R. Mattern (P77548)
                                            JACKSON LEWIS P.C.
                                            Attorneys for Defendants
                                            2000 Town Center, Suite 1650
                                            Southfield, MI 48075
                                            248-936-1900
                                            jenkinsm@jacksonlewis.com
November 21, 2018                           kristyn.mattern@jacksonlewis.com


                                    PROOF OF SERVICE
         The undersigned hereby certifies that the foregoing instrument was served upon
         all parties in the above case at their respective addresses disclosed on the
         pleadings on November 21, 2018 by:

                         Hand Delivery                  √ U. S. Mail
                         E-mail/ECF                      FAX

                                   ___/s/ Kristyn R. Mattern___
                                      KRISTYN R. MATTERN


4838-4015-4490, v. 1




                                                6
